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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


                                                               Bankruptcy
   In re
                                                               Case No. 22-33553 (CML)
   Alexander E. Jones,
                    Debtor,                                    Chapter 11


   David Wheeler, Francine Wheeler, Jacqueline
   Barden, Mark Barden, Nicole Hockley, Ian Hockley,
   Jennifer Hensel, Donna Soto, Carlee Soto Parisi,            Adv. Pro. No.: 22-03037 (CML)
   Carlos M. Soto, Jillian Soto-Marino, William
   Aldenberg, William Sherlach, Robert Parker, and
   Richard M. Coan, as Chapter 7 Trustee for the
   Estate of Erica Lafferty
                    Plaintiffs,
            V.
   Alexander E. Jones and Free Speech Systems, LLC,
                    Defendants.


                 DECLARATION OF ALINOR C. STERLING IN SUPPORT OF
                   PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT


ALINOR C. STERLING declares pursuant to 28 U.S.C. § 1746:

       1.        My name is Alinor Sterling. I am over the age of twenty-one years and am fully

competent to make this affidavit. I have personal knowledge of the facts stated in this affidavit,

which are true and correct.

       2.        I am an attorney in the law firm of Koskoff Koskoff & Bieder, PC. I am counsel

for David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley, Ian

Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino,

William Aldenberg, William Sherlach, and Robert Parker in this action.

       3.        I submit this affidavit in support of Plaintiffs' Motion for Summary Judgment.
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